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                                      OBJECTIONS
                                         KEY



  A = Authenticity
  BER = Best evidence rule
  BOL = Bolstering
  CHAR = Impermissible character evidence
  CML = Cumulative
  COM = Completeness
  DEM = Improper demonstrative
  DNI = Document not identified
  H = Hearsay
  IB = Improper bates number
  IC = Improper compilation
  ILO = Improper lay opinion
  MIL = Motion in Limine
  NP = Document not produced
  P = Privileged
  R = Relevance
  SPEC = Speculation
  UP = Undue Prejudice
